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AVIVA STAHL,

FEDERAL BUREAU OF PRISONS, and
DEPARTMENT OF JUSTICE,

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Plaintiff,

v. No, 19-cv-4142

Defendants.

DECLARATION OF AVIVA STAHL

I, Aviva Stahl, do hereby declare and state as follows:

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I am an investigative journalist based in Brooklyn, New York.

My work focuses on prisons, national security, and immigration detention.

I have been published in a variety of media outlets including The Guardian, The Nation,
Harper's Magazine, Rolling Stone, VICE, Columbia Journalism Review, The Intercept,
The Appeal, and others.

I first became interested in the videos in question after reporting a story for Gothamist
about the conditions at the Metropolitan Correctional Center in Manhattan. Through the
process of writing that article, I corresponded with and interviewed men who had spent
time on the H Unit at ADX Florence, and/or men who had been incarcerated alongside
men who had spent time on the unit.

My interest in the videos grew after seeing a 60 Minutes segment reporting on
incarcerated people at ADX Florence. Supermax: A clean version of hell, CBS NEWS

(2007), https://www.cbsnews.com/video/supermax-a-clean-version-of-hell/.
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6.

In the video, former ADX Warden Hood describes peaceful hunger strikes that many
prisoners had engaged in during his tenure as warden. He described the force-feeding
process and mentioned that he had personally overseen “350, maybe 400” feedings. I also
learned that at the time of the video, over 900 force-feedings had occurred in H Unit
since 2001.Warden Hood described the isolation of H Unit and ADX—explaining
procedures such as the policy of strip-searching inmates every time they leave the cell to
recreate. Additionally, a former prisoner at ADX Florence described the extreme
isolation. The former prisoner showed pictures of himself and his cell in the prison. The
video segment showed footage of a fight between prisoners in general population inside
the prison, and video footage of a new prisoner being brought into the prison with
restraints, through the underground parking garage and through the halls of the prison.
Through further research, I also discovered that when the BOP force-feeds and rehydrates
these hunger-strikers, they have a policy of videotaping each procedure. I have
subsequently researched thousands of instances of force-feeding among incarcerated
people at Florence ADX.

[ discovered that the public was also interested in the subject of hunger strikes and force-
feeding in prisons. Many national news outlets have reported on the subject. Mitch Smith,
Prison Strike Organizers Aim to Improve Conditions and Pay, N.Y. Times (Aug. 26,
2018), https://www.nytimes.com/2018/08/26/us/national-prison-strike-2018 html;
Lindsey Bever & Cleve R. Wootson Jr., Jnmates Across the U.S. Are Staging a Prison
Strike Over ‘Modern-Day Slavery,’ Wash. Post (Aug. 21, 2018),
https://www.washingtonpost.com/nation/20 1 8/08/21 /inmates-across-us-arestaging-

prison-strike-over-modern-day-slavery; Vauhini Vara, The Viral Success of a Strike No
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One Can See, Atlantic (Aug. 30, 2018),
https://www.theatlantic.com/business/archive/2018/08/prison-strike/568948; Daniel A.
Gross, An Inside Account of the National Prisoners’ Strike, New Yorker (Sept. 6, 2018),
https://www.newyorker.com/news/as-told-to/an-inside-account-of-the-national-prisoners-
strike; Ed Pilkington, Major Prison Strike Spreads Across US and Canada as Inmates
Refuse Food, Guardian (Aug. 23, 2018), https://www.theguardian.com/us-
news/2018/aug/23/prison-strike-us-canadaforced-labor-protest-activism; Laignee Barron,
Here's Why Inmates in the U.S. Prison System Have Launched a Nationwide Strike, Time
(Aug. 22, 2018), http://time.com/5374133/prison-strike-labor-conditions; Tess Bonn,
Journalist calls for more transparency around prison extreme isolation practices, The
Hill (July 10, 2019), https://thehill .com/hilltv/rising/'452500-journalist-calls-for-more-
transparency-around-prison-extreme-isolation-practices; Mark Binelli, /nside America’s
Toughest Federal Prisons, N.Y. Times (Mar. 26, 2015),
https://www.nytimes.com/2015/03/29/magazine/inside-americas-toughest-federal-
prison.html; Edmund DeMarche, /CE Officials force-feed 6 immigrants on hunger strike
at Texas detention center, Fox News (Jan. 31, 2019), https://www.foxnews.com/us/ice-
officials-force-feed-6-immigrants-on-hunger-strike-at-texas-detention-center.

9. In 2017, I asked several incarcerated sources to let others know that I was attempting to
locate former H Unit residents, specifically former residents who had spent time on
hunger strike and experienced force-feedings.

10. Shortly thereafter, Mr. Salameh contacted me and expressed his willingness to provide a

first-hand account regarding force-feedings at ADX Florence.
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Through many conversations with Mr. Salameh, I learned details about ADX Florence
and force-feedings. Mr. Salameh described to me his 2015 hunger strike and subsequent
force-feeding and rehydration in detail.

I published an article in The Nation based on my research and my interviews with Mr.
Salameh. Force-Feeding Is Cruel, Painful, and Degrading—and American Prisons Won’t
Stop, The Nation (June 4, 2019), https://www.thenation.com/article/archive/force-
feeding-prison-supermax-torture/.

The article I published contained pictures depicting the inside of ADX Florence, which
had been taken during prior litigation and provided to me. The pictures depict prisoners
in the prison, the inside of cells, cell doors, and the layout of hallways inside ADX
Florence. /d.

With Mr. Salameh’s consent, | submitted a valid Freedom of Information Act request for
Mr. Salameh’s medical records on February 12, 2018 and a second valid request on
March 23, 2018.

On April 3, 2018, BOP emailed me acknowledging receipt of my March 23, 2018 request
and stating that it considered the request duplicative of the February 12, 2018 request,
and had administratively closed the March 23, 2018 request. The February 12, 2018
request sought all of his “medical exams, history and physical, operative reports . . . as
well as videotapes of any involuntary medical treatment.” The March 23, 2018 request
specifically sought “videos in which Salameh has undergone force-feedings or what the
BOP refers to as ‘involuntary treatment with naso-gastric tube feeding and/or intravenous
administration of essential nutrients... .”” The April 3, 2018 acknowledgment from BOP

is attached here as Exhibit A.
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Between April 5, 2018, and July 9, 2018, I sent at least three follow-up emails to BOP
asking for updates on my request.

The BOP sent me a partial release on August 10, 2018, which included 1055 unredacted
pages of medical records and four additional pages of medical records that were partially
redacted. The August 10, 2018 partial release letter is attached here as Exhibit B.

I received the final release from BOP on November 2, 2018, dated September 24, 2018,
which included 1567 unredacted pages of medical records and another forty-two pages of
medical records that were partially redacted. The BOP also stated that it was withholding
six pages of records and six videos in their entirety.

The release from the BOP contained Health Services Clinical Encounter reports from the
November 4, 2015 and November 11, 2015 involuntary treatments. The Health Services
Clinical Encounter reports are attached here as Exhibit C.

On September 9, 2019, ten months after the final response and release, the BOP notified
me via letter that they had located an additional seven videos responsive to the request

that it would be withholding.

I hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is
true and correct.

Executed this |O day of Feb 4f) 2020.

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Aviva Stahl

